Case 19-11372-btb Doc 16 Entered 03/26/19 23:50:53 Page 1 of 1

Fill in this information to identify your case:

Del,lorl JOEL CROSBY S|NNO`|'|'

 

 

 

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Disfrict of Nevada E
Caee number 19-1 1372-BTB
tlfknown) n Check if this is an

 

 

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do any creditors have claims secured by your property?
El No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
M Yes. Fill in all of the information below.

m List All secured claims
Column A Column B Column C

2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amcunt cf claim value cf collateral unsecured
for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. Do not deducllhe that supports this portion

 

 

 

 

 

 

 

 

 

As much as possible, list the claims in alphabetical order according to the creditors name. value of collateral claim lf any
|:| Bl~idgecrest Describe the property that secures the claim: $ 3'749'92 $ 12'000'00 $ 8'250'08
Creditors Name
7300 E Hampton Avenue F°rd F'250
Number Street
As of the date you fi|e, the claim is: Check all that apply.
n Contingent
Mesa AZ 85209 d unliquidated
City state zlP Code n Dlspuled
Who owes the debt? Check one. Nature of lien. check all that apply.
w Debt°r 1 On|y g An agreement you made (such as mortgage or secured
n Debtor 2 only Car loan)
E| Deptorl and Deptor 2 only n Statutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another n Judgment lien from a lawsuit
El other (including a right to offset)
\;l Check if this claim relates to a
community debt
Date debt was incurred 02/18/2017 Last 4 digits of account number _ _ _
|B| Specia|ized Loan Servicing LLC Describe the property that secures the claim: $ 845¢055-08 $ 420¢000'00 $25¢055'08

 

 

 

Creditors Name

8720 Castle View Ave. Residence

 

 

 

 

 

 

Number Street
p0 BOX 636005 As of the date you fi|e, the claim is: Check all that apply.
n Contingent
littleton CO 80163 g Unliquidated
City State ZlP Code n Dlspuled
Wh° °Wes the debt? Check One- Nature of lien. Check all that apply.
g Debt°f 1 On|y g An agreement you made (such as mortgage or secured
\;l Debtor 2 only car loan)
|;| Dobtoll and Dsbtol 2 only n Statutory lien (such as tax lien, mechanic’s lien)
\;l At least one of the debtors and another n Judgment lien from a lawsuit

n Other (including a right to offset)
\;l Check if this claim relates to a

community debt
Date debt was incurred 03/23/200€ Last 4 digits of account number _8 _3 _7 _5

Add the dollar value of your entries in Column A on this page. Write that number here: h_$i&,_$_@_$_@g|

Ochial Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of1_

